905 F.2d 1531Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael SINDRAM, Plaintiff-Appellant,v.Robert F. SWEENEY;  Thomas Lohm;  James L. Ryan;  Jeffrey L.Ward;  Raymond M. Kight;  Edward Northrop;  JohnR. Hargrove, Defendants-Appellees.Michael SINDRAM, Plaintiff-Appellant,v.Robert F. SWEENEY;  Thomas Lohm;  James L. Ryan;  Jeffrey L.Ward;  Raymond M. Kight;  Edward Northrop;  JohnR. Hargrove, Defendants-Appellees.
    Nos. 90-2663, 90-2664.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 18, 1990.Rehearing and Rehearing In Banc Denied June 13, 1990.
    
      Appeals from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard and Frederic N. Smalkin, District Judges.  (C/A No. 90-687-S)
      Michael Sindram, appellant pro se.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Michael Sindram appeals from the orders of the district court denying his motion for an injunction and for a temporary restraining order, and dismissing his civil action brought pursuant to 42 U.S.C. Sec. 1983 as frivolous under 28 U.S.C. Sec. 1915(d).  Our review of the record and the district court's orders discloses that these appeals are without merit.  Accordingly, we affirm the denial of the motion for an injunction, and the dismissal of the complaint, on the reasoning of the district court.  Sindram v. Sweeney, C/A No. 90-687-S (D.Md. Mar. 15 and Mar. 16, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    